Case 4:18-cr-00251-CVE Document 130 Filed in USDC ND/OK on 02/14/20 Page 1 of 5




                       IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF OKLAHOMA

 UNITED STATES OF AMERICA,                      )
                                                )
                        Plaintiff,              )
                                                )
 v.                                             )      Case No. 18-CR-0251-CVE
                                                )
 CHRISTOPHER R. PARKS,                          )
 GARY ROBERT LEE,                               )
 JERRY MAY KEEPERS, and                         )
 KRISHNA BALARAMA                               )
 PARCHURI,                                      )
                                                )
                        Defendants.             )

                                               ORDER

        Now before the Court is Defendant Keepers’ Motion to Continue Scheduling Order and All

 Related Dates (Dkt. # 116) and Defendant Parchuri’s Second Motion to Sever (Dkt. # 127). On

 December 7, 2018, a grand jury returned an indictment charging Christopher Parks and Gary Lee

 with conspiracy to commit an offense against the United States (count one). Dkt. # 3. Parks and Lee

 are accused of paying bribes or kickbacks to physicians to induce the physicians to refer patients to

 pharmacies operated by Parks and Lee to fill prescriptions for expensive compounded drugs. Id. at

 3. Counts two through twenty-four of the indictment charge Jerry May Keepers, a physician, with

 willfully soliciting bribes or kickbacks from Parks and Lee in exchange for patient referrals with the

 knowledge that federal healthcare programs would be billed for compounded drugs. Id. at 16-18.

 Parks, Lee, and Keepers are also charged with conspiracy to commit health care fraud in violation

 of 18 U.S.C. §§ 1347 and 1349 in count twenty-five of the indictment. Id. at 20-21.

        The parties filed a joint motion to declare this matter a complex case under the Speedy Trial

 Act, 18 U.S.C. § 3161 et seq., and the parties requested a 9 month continuance of the jury trial set
Case 4:18-cr-00251-CVE Document 130 Filed in USDC ND/OK on 02/14/20 Page 2 of 5




 for February 19, 2019. The Court considered the volume of discovery and the complexity of the

 factual and legal issues involved in the case, and found that it would be unreasonable to expect the

 parties to prepare for trial within the deadlines set by the Speedy Trial Act. Dkt. # 39, at 4. On June

 12, 2019, a grand jury returned a superseding indictment asserting additional charges against Krishna

 Balarama Parchuri. Dkt # 48. Lee initially retained counsel to represent him in this matter, but

 retained counsel received leave to withdraw from the representation when Lee was no longer able

 to pay for retained counsel. Dkt. # 87. The Court appointed Thomas Wright to represent defendant,

 but Wright experienced delays in obtaining Lee’s file from his former retained counsel. Wright

 argued that it would be unreasonable to expect him to prepare for trial November 19, 2019, and he

 asked the Court to continue the trial until at least April 2020. The Court granted the motion to

 continue over Parchuri’s objection, and the Court also denied Parchuri’s request for severance. Dkt.

 # 113.

          Keepers asks the Court to continue the jury trial of this matter to the October 2020 jury trial

 docket, and he provides two reasons for the requested continuance. First, Keepers states there are

 more than 100 gigabytes of discovery materials that have not yet been produced to defense counsel,

 and his attorney will not have sufficient time to review these materials before an April 2020 trial.

 Dkt. # 116, at 3. Second, one of Keepers’ lead attorneys, Joe Bailey, is experiencing significant

 health problems, and Martin Hart, formerly serving as local counsel, has had to step into a more

 prominent role in Keepers’ defense. Hart will need additional time to review the discovery materials

 and prepare for trial. Plaintiff has no objection to Keepers’ request for a continuance, and defendants

 Parks and Lee also have no objection. Dkt. ## 121, 122, 124. Keepers, Parks, and Lee have filed

 speedy trial waivers. Dkt. ## 119, 123, 129. Parchuri objects to the motion to continue, even though


                                                    2
Case 4:18-cr-00251-CVE Document 130 Filed in USDC ND/OK on 02/14/20 Page 3 of 5




 he acknowledges that there is a substantial amount of outstanding discovery, and he faults plaintiff

 for causing any delay in the parties’ ability to prepare for an April 2020 trial. Dkt. # 120. Parchuri

 also renews his request for severance. Dkt. # 127; Dkt. # 120, at 4. However, he has offered no new

 argument that was not previously considered by the Court in its prior opinion and order (Dkt. # 113).

 Parchuri claims that his attorney would be able to provide effective assistance of counsel, but he fails

 to explain when how this is possible when counsel for all defendants acknowledge that there is a

 substantial amount of discovery that has not been produced to defense counsel. See Dkt. # 127.

 Parchuri has not overcome the presumption of a joint trial in a conspiracy case, and his second

 request for severance is denied.

         Keepers’ request for a continuance falls under § 3161(h)(7)(A) of the Speedy Trial Act. This

 section permits a federal district court to exclude any period of delay resulting from a continuance

 if “the judge granted such continuance on the basis of his findings that the ends of justice served by

 taking such action outweigh the best interest of the public and the defendant in a speedy trial.” 18

 U.S.C. § 3161(h)(7)(A). A court must orally or in writing set forth its reasons for granting an ends

 of justice continuance and make findings that a continuance is in the best interest of the defendant

 and the public. Id. The statute permits a court to consider whether “the failure to grant such a

 continuance . . . would deny counsel for the defendant . . . the reasonable time necessary for effective

 preparation, taking into account the exercise of due diligence.” Id. at § 3161(h)(7)(B)(iv). The

 Tenth Circuit has been clear that an ends of justice continuance should not be granted “cavalierly”

 and it was intended to be a “rarely used tool.” United States v. Williams, 511 F.3d 1044, 1048-49

 (10th Cir. 2007).

         In United States v. Toombs, 574 F.3d 1262 (10th Cir. 2009), the Tenth Circuit limited the

 circumstances in which an ends of justice continuance can be granted and emphasized that this

                                                    3
Case 4:18-cr-00251-CVE Document 130 Filed in USDC ND/OK on 02/14/20 Page 4 of 5




 should be a rarely used procedural tool. The parties must provide the district court a sufficient record

 to determine why the facts stated in a motion for continuance “result[] in the need for additional

 time.” Id. at 1271. This requires the parties to provide specific information about the need for a

 continuance, and the district court may need to hold a hearing before granting an ends of justice

 continuance. Id. at 1272-73. A district court must also give significant weight to the public’s interest

 in a speedy trial, and the public’s interest is generally served by strict adherence to the requirements

 of the Speedy Trial Act. Id. at 1273.

         The Court previously found that this is a complex case and that it would be unreasonable to

 expect the parties to prepare for trial in 70 days. Dkt. # 39. All of the defendants agree that there

 is a substantial amount of outstanding discovery, and all defendants except Parchuri state that a

 miscarriage of justice will result if they are required to go to trial in April 2020. Parchuri claims that

 he has been diligently preparing for trial and he faults plaintiff for delays in producing discovery

 materials, but the Court finds no basis to find that plaintiff has acted in bad faith or has taken any

 action to purposefully delay resolution of this case. The Court takes into account the complexity of

 the case and the delay caused by Bailey’s health problems, and Hart will need additional time to

 prepare for his role as lead counsel. Finally, the Court notes that none of the defendants are detained,

 and a delay of the trial will not impair their personal liberty while awaiting trial. The Court finds that

 Keepers’ request for additional time to prepare for trial is reasonable, and each defendant except

 Parchuri has executed a speedy trial waiver (Dkt. ## 119, 123, 129) asking the Court to exclude any

 period of delay for an ends of justice continuance. Keepers’ motion for a continuance of the jury

 trial should be granted notwithstanding Parchuri’s objection. In addition to the interests of the

 defendants, the Court has considered the public’s interest in the speedy resolution of criminal cases


                                                     4
Case 4:18-cr-00251-CVE Document 130 Filed in USDC ND/OK on 02/14/20 Page 5 of 5




 and finds that a limited ends of justice continuance will not subvert the public’s interest in the

 prompt prosecution of criminal matters.

        IT IS THEREFORE ORDERED that Defendant Keepers’ Motion to Continue Scheduling

 Order and All Related Dates (Dkt. # 116) is granted. The pretrial conference set for April 6, 2020

 and the jury trial set for April 20, 2020 are stricken. The following amended scheduling order is

 hereby entered:

        Motions due:                                          September 17, 2020

        Responses due:                                        October 1, 2020

        PT/CP/Motions Hearing:                                October 8, 2020 at 10:00 a.m.

        Voir dire, jury instructions, and trial briefs due:   October 13, 2020

        Jury Trial:                                           October 19, 2020 at 9:15 a.m.

        IT IS FURTHER ORDERED that the time from April 20, 2020, inclusive, to October 19,

 2020, inclusive, is excludable pursuant to 18 U.S.C. § 3161(h)(7).

        IT IS FURTHER ORDERED that Defendant Parchuri’s Second Motion to Sever (Dkt. #

 127) is denied.

        DATED this 14th day of February, 2020.




                                                   5
